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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

       UNITED STATES OF AMERICA,                    )
                                                    )
                     Plaintiff,                     )
                                                    )
              vs.                                   ) CRIMINAL NO. 05-30027-01-DRH
                                                    )
       JOHN MCCRAY, SR.,                            )
                                                    )
                     Defendant.                     )

                                           ORDER

              BEFORE THE COURT is the Government’s Motion to Extend Time in Which to

File its Responses to the Pre-Trial Motions of Defendant John McCray, Sr. (Docs. 156-159, 161-

162; together, “McCray’s Pre-Trial Motions”).

              The Court, being fully apprised in the premises for the Government’s Motion,

GRANTS the motion and extends the time for the filing of the Government’s Responses to

McCray’s Pre-Trial Motions to and including July 24, 2006.

              IT IS SO ORDERED.


                                            /s/    David RHerndon
                                            United States District Judge


              Dated this 27th, day of June, 2006.
